  4:05-cr-03029-DLP   Doc # 50   Filed: 07/08/05   Page 1 of 1 - Page ID # 140



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                  4:05CR3029
          v.                        )
                                    )
MICHAEL J. CURRY,                   )
                                    )                     ORDER
                Defendants.         )
                                    )



     IT IS ORDERED:

     Plaintiff’s motion to continue trial, filing 49, is granted
and trial of this matter is continued to 9:00 a.m., October 11,
2005 for a duration two trial days before the undersigned
magistrate judge in Courtroom 2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.

     DATED this 8th day of July, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
